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 5
                            UNITED STATES DISTRICT COURT
 6                         EASTERN DISTRICT OF WASHINGTON

 7
     UNITED STATES OF AMERICA,             )
 8                                         )
                         Plaintiff,        )       CR-08-026-FVS-2
 9                                         )
          vs.                              )       ORDER GRANTING MOTION TO
10                                                 MODIFY RELEASE CONDITIONS
                                           )
11   FRAN OGREN,                           )
                                           )
12                       Defendant.        )
                                           )
13
            The Court having reviewed Defendant Fran Ogren’s Unopposed
14
     Motion to Modify Release Conditions; Now Therefore,
15
                IT IS HEREBY ORDERED, for good cause shown, that the
16
     Defendant’s Motions to Modify Release is GRANTED.
17
           Ms. Ogren shall be permitted to travel to Lacey, Washington
18
     June 6-13, 2009 and return to Northport, Washington on June 13,
19
     2009 and travel to Odessa, Texas June 15-26, 2009 and return to
20
     Northport, Washington on June 25, 2009.
21
           DATED June 2, 2009.
22

23
                                s/ CYNTHIA IMBROGNO
24                         UNITED STATES MAGISTRATE JUDGE
25

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27
     Proposed Order                            1
